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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF PENNSYLVANIA


DAVID C. WYLIE,
                                                    Civil Action No. 3:16-cv-102
                             Plaintiff
                                                    Judge Kim R. Gibson
              vs.

TRANSUNION, LLC,

                             Defendant


                                         JUDGMENT

    AND NOW, this 29th day of September, 2017, in accordance with Federal Rule of Civil

Procedure 58, and the Memorandum Opinion and Order dated September 29, 2017, Judgment is

hereby entered in favor of the Defendant, Transunion, LLC, and against the Plaintiff, David C.

Wylie.



                                            BY THE COURT:




                                            KIM R. GIBSON,
                                            UNITED STATES DISTRICT JUDGE
